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EXHIBIT 1
Case 1:21-mj-00356-SJB Document1 Filed 03/23/21 Page 1 of 7 PagelD #: 1

AES:NR/LHE
F.# 2020R00617

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

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UNITED STATES OF AMERICA COMPLAINT AND
AFFIDAVIT IN SUPPORT

- against - OF APPLICATION FOR AN

ARREST WARRANT

JEBARA IGBARA,

also known as “Jay Mazini,” (18 U.S.C. §§ 1343, 2 and 3551 et seq.)
Defendant. Case No. 21-MJ-356
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EASTERN DISTRICT OF NEW YORK, SS:
WILLIAM BOLINDER, being duly sworn, affirms and states that he is a Special

Agent with the Federal Bureau of Investigation (“FBI”), duly appointed according to law and

acting as such.

On or about and between January 1, 2021 and March 15, 2021, within the Eastern
District of New York and elsewhere, the defendant JEBARA IGBARA, also known as “Jay
Mazini,” together with others, did knowingly and intentionally devise a scheme or artifice to
defraud individual owners of Bitcoin in order to obtain money and property from them by means
of one or more materially false and fraudulent pretenses, representations and promises, and for
the purpose of executing such scheme and artifice, did transmit and cause to be transmitted, by
means of wire communication in interstate and foreign commerce, writings, signs, signals,

pictures and sounds.

(Title 18, United States Code, Sections 1343, 2 and 3551 et seq.)
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The source of your affiant’s information and the grounds for his belief are as
follows:!

lL. I have been a Special Agent with the FBI since September 2018. [am
currently assigned to an FBI squad that investigates financial crimes. As a Special Agent, I
have investigated numerous matters during the course of which I have conducted physical and
electronic surveillance, interviewed witnesses, executed court-authorized search warrants and
used other investigative techniques to secure relevant information regarding a variety of crimes.

2. I have personally participated in the investigation of fraud by the
defendant JEBARA IGBARA, also known as “Jay Mazini,” as discussed below. Iam familiar
with the facts and circumstances set forth below from my personal review of records and
documents obtained during this investigation, and from communications and information
provided to me by fellow agents and other government personnel with knowledge related to this
investigation. Except as explicitly set forth below, I have not distinguished in this affidavit
between facts of which I have personal knowledge and facts of which I learned from other law
enforcement agents.

3. Until in or around March 2021, the defendant JEBARA IGBARA, also
known as “Jay Mazini,” maintained an active social media presence on multiple social media
platforms, where he promoted various business ventures with which he was associated to large
numbers of followers. For example, publicly available portions of IGBARA’s Instagram
account showed that he had nearly a million followers on Instagram. On his Instagram account,

IGBARA posted, among other things, numerous videos that purported to show him handing out

| Because the purpose of this Complaint is to set forth only those facts necessary
to establish probable cause to arrest the defendant JEBARA IGBARA, I have not described all
the relevant facts and circumstances of which I am aware.
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large sums of cash to a variety of individuals, including people waiting to check out at grocery
stores, individuals working at a fast food restaurant in Queens, New York and a woman he met at
an airport who lost her purse. By posting such videos, IGBARA created a public persona of
himself as a person of substantial means.

4. Beginning in or around January 2021, the defendant JEBARA IGBARA,
also known as “Jay Mazini,” began using his social media accounts to solicit followers to sell
him Bitcoin.?, From January 2021 to February 2021, Bitcoin increased substantially in price,
jumping from a closing price of approximately $29,333 per Bitcoin on January 1, 2021 to
$49,248 on March 1, 2021.3 Within the same time frame, IGBARA began using his social
media accounts, specifically his accounts on Twitter and Instagram, to post offers to buy Bitcoin
at above-market prices. For example, on or about February 14, 2021, IGBARA posted to his
Instagram an offer to buy Bitcoin at $52,500. On that day, the market price for Bitcoin ranged
from approximately $47,105 to $49,716. Additionally, on or about February 17, 2021,
IGBARA posted to his Instagram an offer to buy Bitcoin at 3.5% to 5% above its current market
price.

5. [ have interviewed a witness who resides in Brooklyn, New York
(“Individual #1”) who viewed posts made by the defendant JEBARA IGBARA, also known as

“Jay Mazini,” to his Instagram account in which IGBARA offered to purchase Bitcoin at 5%

? Bitcoin was one form of cryptocurrency (also known as a “virtual currency”),
which was a currency circulated over the Internet as a form of value. Cryptocurrencies were not
issued by any government, bank or company, but were controlled through computer software
operating via cryptographic technology and a large decentralized, peer-to-peer network.
Cryptocurrencies maintained ledgers, which tracked the amount of each cryptocurrency held by
any given user. Within that network, users could conduct cryptocurrency transactions amongst
themselves in a secure, traceable manner.

3 Unless otherwise noted, Bitcoin prices cited herein are the price at the close of
the date in question.

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over market value. Individual #1 told me that IGBARA would at times post responses to
inquiries he received from Instagram users asking why IGBARA was willing to pay over market
price for Bitcoin, and that IGBARA explained in those responses that Bitcoin exchanges were
limiting the quantity of Bitcoin that he could purchase. Individual #1 was physically located in
the Eastern District of New York when he or she viewed these Bitcoin-related posts by
IGBARA.

6. I also interviewed several individuals who transacted in Bitcoin with the
defendant JEBARA IGBARA, also known as “Jay Mazini,” in response to IGBARA’s social
media posts. Each individual that J interviewed describe a series of interactions with IGBARA
in which IGBARA sought to have Bitcoin sent to him in exchange for U.S. dollars. In each
instance, IGBARA promised to transfer the U.S. dollars via wire transfers and showed the
prospective trading partners either videos or computer screen shots that purported to demonstrate
that the promised wire transfers had been transmitted. In fact, with respect to each individual,
IGBARA did not send wire transfers in amounts sufficient to pay for the Bitcoin he had received
from his counterparty.

7. One such individual (“Individual #2”) worked for a company based
outside the United States (the “Company” that held Bitcoin and was looking to obtain U.S.
Dollars. Individual #2 contacted the defendant JEBARA IGBARA, also known as “Jay
Mazini,” via IGBARA’s social media profile and agreed to sell IGBARA Bitcoin. Individual #2
advised that he or she discussed the transaction with IGBARA via WhatsApp. IGBARA
promised that he would wire $195,700 in exchange for 5.049 Bitcoin from Individual #2.

Copies of those WhatsApp messages show that on or about January 7, 2021, Individual #2 sent

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IGBARA a message asking “U send me wire receipt and i send you the coins?” to which
IGBARA responded “Of course. Of course I will send the wire confirmation receipt.”

8. In connection with the transaction, the defendant JEBARA IGBARA, also
known as “Jay Mazini,” sent Individual #2: (1) a copy of his passport identification page that
depicted IGBARA, and (2) a copy of a wire transfer receipt that purportedly reflected a wire
transfer, in the amount of approximately $195,700, from a bank account that IGBARA purported
to control (“Bank Account #1”) to a bank account held by the Company. In exchange, on or
about January 7, 2021, Individual #2 sent 5.049 Bitcoin to IGBARA’s digital currency wallet,
the value of which ranged from $183,561 to $203,595 on that day. When no wire transfer was
received by Individual #2, he or she contacted IGBARA and inquired further, and was told that
the delay was due to the international nature of the transaction. Individual #2 never received the
wire transfer from IGBARA, who continued to provide purported reasons that the wire transfer
was being delayed.

9. I also interviewed another individual (“Individual #3”) who transferred
Bitcoin to the defendant JEBARA IGBARA, also known as “Jay Mazini,” in exchange for
promised payments of U.S. dollars that IGBARA never provided. Individual #3 first heard of
IGBARA from his or her sibling, who had been following IGBARA on Instagram for some time
prior to early 2021. In January or February 2021, Individual #3 observed IGBARA’s social
media posts offering to purchase Bitcoin. In February of 2021, Individual #3 reached out to
IGBARA to discuss selling Bitcoin, and the two spoke over a video call. During the call,
IGBARA told Individual #3 that he had a personal net worth of $33 million. IGBARA also

showed Individual #3, by holding a second phone up to the screen of the video call, an image of

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a Bitcoin wallet reflecting that IGBARA had purchased $3 to $4 million worth of Bitcoin the
previous week.

10. _—_— Individual #3 and the defendant JEBARA IGBARA, also known as “Jay
Mazini,” agreed that Individual #3 would sell IGBARA Bitcoin in a series of transactions. In
connection with those transactions, IGBARA sent Individual #3 (1) a screenshot purportedly
depicting an approximately $3.135 million wire transfer confirmation from IGBARA’s TD
Ameritrade Account to a bank account held by Individual #3, and (2) an image of IGBARA’s
passport. In exchange, Individual #3 transferred approximately $750,000 worth of Bitcoin to
IGBARA, which Individual #3 intended to be an initial transfer or deposit for the transactions.
However, Individual #3 never received the wire transfer from IGBARA. When Individual #3
complained to IGBARA about not receiving the wire transfer, IGBARA responded by
transferring back to Individual #3 approximately $390,000 worth of Bitcoin, but has to date
failed to return the full amount of money provided to him by Individual #3.

11. I have reviewed account records for a TD Ameritrade Bank Account held
in the name of the defendant JEBARA IGBARA, also known as “Jay Mazini.” Those records
reflect that on February 8, 2021, the date IGBARA sent the wire transfer confirmation purporting
to reflect a $3,135,804.00 transfer to Individual #3, the balance in the account was approximately
$162.60. Based on this information, and the fact that no wire transfer was ever received by
Individual #3, I believe that the wire transfer confirmation was fraudulent.

12. I also interviewed another individual (“Individual #4’) who transferred
Bitcoin to the defendant JEBARA IGBARA, also known as “Jay Mazini,” in exchange for
promised payments of U.S. dollars that IGBARA never provided. In or about January 2021, a

business partner (the “Partner’) of Individual #4 saw a social media posting by IGBARA
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indicating IGBARA’s desire to purchase Bitcoin. The Partner then placed Individual #4 in
contact with IGBARA via WhatsApp. Individual #4 has informed me that he or she negotiated
a transaction with IGBARA in which IGBARA would pay him or her approximately $2.56
million in exchange for approximately 50 Bitcoin. Individual #4 described to me that on or
about January 13, 2021, IGBARA sent Individual #4 a video, depicting a computer monitor that
displayed a series of wire transfer confirmation pages totaling approximately $2.56 million, and
that IGBARA told Individual #4, via WhatsApp message, that this money was to pay for the
Bitcoin. Individual #4 then transferred approximately 54 Bitcoin to IGBARA. Individual #4
told me that other than payments totaling approximately $500,000, he or she has yet to receive
the balance of the $2.56 million purportedly transferred by IGBARA, and, according to
Individual #4, IGBARA has provided multiple, varying explanations for the failure of the wire
transfers to arrive.

WHEREFORE, your affiant respectfully requests that an arrest warrant be issued

for the defendant JEBARA IGBARA, also known as “Jay Mazini,” so that he may be dealt with

according to law.

UMbam Bobader
WILLIAM BOLINDER
Special Agent, Federal Bureau of Investigation

Sworn to before me this
93 day of March, 2021

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THE HONORABLE SANKET J. BULSARA
UNITED STATES MAGISTRATE JUDGE
EASTERN DISTRICT OF NEW YORK

Popular Instagram Personality Known as “Jay Mazini” Charged with Wire Fraud | USAO-EDNY | Department of Justice 6/14/21, 11:26 AM

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Eastern District of New York

FOR IMMEDIATE RELEASE Wednesday, March 24, 2021

Popular Instagram Personality Known as “Jay Mazini”
Charged with Wire Fraud

Defendant Allegedly Induced Victims to Sell Him Millions of Dollars Worth of
Bitcoin Under False Pretenses

Acomplaint was filed in federal court in Brooklyn yesterday charging Jegara Igbara, also known as “Jay
Mazini,” with wire fraud related to a scheme in which the defendant allegedly induced victims to send him
Bitcoin by falsely claiming to have sent wire transfers of cash in exchange for the Bitcoin. In reality,
Igbara never sent the money, and stole at least $2.5 million worth of Bitcoin from victims. Igbara is
currently being held on state charges in New Jersey and will make his initial appearance in the Eastern
District of New York at a later date.

Mark J. Lesko, Acting United States Attorney for the Eastern District of New York, and William F.
Sweeney, Jr., Assistant Director-in-Charge, Federal Bureau of Investigation, New York Field Office (FBI),
and Jonathan D. Larsen, Special Agent-in-Charge, Internal Revenue Service-Criminal Investigation, New
York (IRS-Cl), announced the charge.

“As alleged, lgbara used his immense social media popularity to dupe his followers into selling him
Bitcoin,” stated Acting United States Attorney Lesko. “This Office will continue to work closely with its law
enforcement partners to stop fraudsters like the defendant from perpetrating social media scams that
prey on innocent victims.”

hitps://www.justice.gov/usao-edny/pr/popular-instagram-personality-known-jay-mazini-charged-wire-fraud Page 1 of 3

Popular Instagram Personality Known as “Jay Mazini” Charged with Wire Fraud | USAO-EDNY { Department of Justice 6/14/21, 11:26 AM
“As we allege, Igbara’s social media persona served as a backdrop for enticing victims to sell him their

Bitcoin at attractive, but inflated, values. A behind-the-scenes look, however, revealed things aren’t

always as they seem. There was nothing philanthropic about the Bitcoin transactions Igbara engaged in

with his victims. A quick search of the Interwebs today will reveal an entirely different image of this
multimillion-dollar scammer.” stated FBI Assistant Director-in-Charge Sweeney. “If anyone out there has
information about this case, we urge you to file a complaint online at tips.fbi.gov.”

“Buyer beware when making purchases of Bitcoin or any other cryptocurrency over social media,” stated
IRS-Cl Special Agent-in-Charge Larsen. “This defendant allegedly used his online popularity to defraud
those seeking to exchange Bitcoin for cash above the market value. Always be on your guard and don’t
fall prey to these cryptocurrency schemes.”

As set forth in the complaint, up until March 2021, Igbara, under the name “Jay Mazini,” maintained a
popular Instagram account with nearly one million followers where he would post videos depicting himself
handing out large amounts of cash to individuals as gifts. Beginning in or around January 2021, Igbara
began posting videos to his Instagram account offering to buy Bitcoin from other Instagram users at
prices 3.5% to 5% over market value. Igbara claimed that he was willing to pay above-market prices
because the traditional Bitcoin exchanges were limiting how much Bitcoin he could purchase. When
victims agreed to transact in Bitcoin with Igbara, he sent them documents that included images of
purported wire transfer confirmation pages that falsely confirmed Igbara had sent a wire transfer for the
promised amounts. In response, the victims supplied Igbara with the Bitcoin, but the promised wire
transfers never arrived. Bank records showed that, as to at least one victim, Igbara did not have funds in
the account identified in the wire transfer receipt that were sufficient to cover the wire transfer he had

promised to make.

This investigation rernains ongoing, and anyone who thinks they may have been a victim of this scheme
is asked to file a complaint online with the FBI at tips.fbi.gov.

The charge in the indictment is an allegations, and the defendant is presumed innocent unless and until
proven guilty. If convicted, Igbara faces up to 20 years’ imprisonment.

The government's case is being handled by the Office’s Business & Securities Fraud Section. Assistant
United States Attorneys Nathan Reilly and Lauren Howard Elbert are in charge of the prosecution.

The Defendant:

JEBERA IGBARA (also known as “Jay Mazini”)
Age: 25
Edgewater, New Jersey

E.D.N.Y. Docket No.: 20-MJ-356

Attachment(s):
Download Igbara Complaint

Topic(s):
Cyber Crime

https://www.justice.gov/usao-edny/pr/popular-instagram-personality-known-jay-mazini-charged-wire-fraud Page 2 of 3

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Financial Fraud

Componeni(s):
USAO - New York, Eastern

Contact:

John Marzulli

United States Attorney’s Office
(718) 254-6323

Updated March 24, 2021

https://www.justice.gov/usao-edny/pr/popular-instagram-personality-known-jay-mazini-charged-wire-fraud Page 3 of 3

